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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

KELLY DEAN BRENDE,                                     )
                                                       )
                               Plaintiff,              )       Case No. 2:15-cv-09711-JAR
                                                       )
v.                                                     )
                                                       )
RELIANCE STANDARD LIFE                                 )
INSURANCE COMPANY.                                     )
                                                       )
                               Defendant.              )

     SUPPLEMENTAL MEMORANDUM IN SUPPORT OF BRENDE’S MOTION
                    FOR SUMMARY JUDGMENT

A. The Sixth Circuit Court of Appeals’ Decision in Okuno.

        In its supplemental brief, Defendant has identified and characterized the essential

issues in Okuno v. Reliance Standard Life Ins. Co., 836 F.3d 600 (6th Cir. 2016) . The

parties largely agree as to Okuno’s factual background and its legal significance. The

Okuno Court held that when a mental illness limitation includes “caused or contributed to

by” language, the provision is evaluated using a “but for” analysis. Under this approach,

the presence of medical evidence of a mental illness does not necessarily preclude an

award of benefits. Rather, if another ailment or combination of ailments cause the

claimant’s disability, the limitation does not disqualify her from benefits.

        Plaintiff Okuno suffered from Chron’s disease, narcolepsy, and Sjogren’s

syndrome, among other conditions. Reliance attempted to apply its mental or nervous

disorder limitation as a result of reports of anxiety and depression in the record. The

Okuno Court held that Reliance mistakenly took the position that the presence of mental

illness in the record automatically justified invoking the limitation. Id. at 608.




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        Defendant also cites Eastin v. Reliance Standard Life Ins. Co., No. 13-6247, 2014

WL 3397141 (6th Cir. July 10, 2014) (per curiam). Defendant argues that this case “is

akin to Eastin, in which the Sixth Circuit upheld the denial of benefits.” Def.’s Supp. Br.

p. 4. However, the facts here are not analogous to those in Eastin. First, Plaintiff Eastin

acknowledged the presence of mental health conditions and impairments. Here, though,

there was no evidence of a mental health impairment, and Brende made no such

concession. Furthermore, there are no medical professionals who have identified

limitations resulting from any mental health condition. As discussed below, the record

contains no evidence that Brende’s ability to work is constrained due to psychiatric

limitations.

        Second, Reliance’s two reviewing physicians in Eastin performed their reviews of the

claimant in person. One physician performed a neuropsychological evaluation, and the other

examined Eastin's physical complaints. Following her physical evaluation, Reliance

concluded that she was not totally disabled as the result of a purely physical condition. Here,

Reliance founded its initial determination to terminate benefits on Dr. Bellino’s opinion – a

file reviewed performed by a family medicine practitioner. Dr. Bellino arguably commented

on her physical complaints, but he conducted only a file review of the case. After that review,

he opined that it was “plausible that mental nervous condition [sic] is the underlying cause of

her symptoms.” AR 1048. Defendant appeared to have led Dr. Bellino to this conclusion,

informing him that the claim had already been adjudicated within the limitation. In a letter to

Defendant, Brende’s counsel advised Defendant of its portentous error. AR 1006.

Additionally, unlike Eastin, the closest that Reliance came to physically evaluating Brende

was neurologist Dr. Kaplan’s examination. Dr. Kaplan opined that Brende could perform no

more than sedentary work. AR 956.



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         Third, when approving Brende’s claim, Defendant expressly concluded that she

was physically disabled. It advised Brende that “[a]t present, the medical information

within your claim file does not suggest that your disability could fall within this

limitation in the future.” AR 352. This fact is absent from Eastin.1 Defendant previously

admitted that Brende’s physical limitations prevented her from performing her own

occupation and that the policy’s mental or nervous disorder limitation did not apply.

Those limitations did not subside over the period of time leading up to Defendant’s

termination of benefits, and Defendant did not identify any evidence suggesting that they

did. Similarly, no psychiatric limitations appeared in that time.

         Brende has maintained that she is disabled due to a condition outside of the

limitation. Both Dr. Levy and psychiatrist Dr. Jones supported this position. Dr. Levy noted

that “with a GAF [score] of 80, [psychiatric limitations] are not expected to be encountered.”

AR 971. Moreover, he was critical of Dr. Bellino’s scavenging for a psychiatric limitation.

Commenting on Dr. Bellino’s emphasis on a reference in the record to Brende experiencing a

stressful year, Dr. Levy noted that “[w]hile he knows these are not psychiatric diagnoses, it as

if he considers them close to being diagnoses.” AR 965. Dr. Jones likewise found no

indications for psychiatric care. AR 1011. Defendant failed to acknowledge or comment on

this examination. In any event, unlike Eastin, in this case there is no evidence of a psychiatric

impairment, despite Defendant’s efforts to manufacture one. In its attempt to apply the

limitation, Defendant abused its discretion.




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 “Eastin does not contend that she was totally disabled as the result of a purely physical condition, and
Eastin’s medical records support a finding that her depression and anxiety contributed to her condition.” Id.
at * 2.


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B. Defendant’s review of Brende’s claim is inconsistent with Okuno.

         Defendant contends that its appeal claims managers’ reviews of Brende’s claim

and her appeal are consistent with Okuno. In support, Defendant draws attention to

language in both the initial denial letter and final denial letter that addresses Brende’s

physical limitations. While it is true that segments of these letters do briefly address

Brende’s physical capacity, they are insufficient to satisfy the analysis required under

Okuno.

         Defendant notes that its initial denial letter contained references to a medical

opinion discussing Brende’s physical capacity. More specifically, Defendant points to Dr.

Bellino’s opinion that “there is no support in physical findings for complaints of

weakness.” Def.’s Supp. Br. p. 2. Although weakness is within the physical domain, its

single mention in Defendant’s initial denial letter does not constitute sincere

consideration of whether Brende’s physical limitations alone were disabling. The record

reflected a variety of other physical impairments and limitations. In fact, none of the

limitations identified by Dr. Allen and Dr. Levy were psychiatric or were the

consequence of a mental health diagnosis.

         Additionally, at the time Defendant issued its initial denial letter, it was

unjustified in invoking the limitation. Its attempts to characterize a mental or nervous

disorder as the source of Brende’s impairments and limitations were unjustified. None of

Brende’s treating physicians came to that conclusion. Furthermore, in invoking the

limitation, Defendant relied entirely upon the expertise of Dr. Bellino – a family

medicine practitioner – and a nurse apparently employed by Defendant.




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       In other words, Defendant could not have properly applied Okuno’s “but for” test

in its initial denial. Dr. Bellino was neither a neurologist nor a psychiatrist. Nor was he a

physiatrist, trained in assessing an impaired individual’s physical functional capacity.

Furthermore, Dr. Bellino never met with or personally evaluated Brende; rather, he

performed his review entirely by way of medical records. As a result, he was neither a

specialist nor an examining physician. He was not well-qualified to assess her

neurological impairments and limitations. Indeed, he altogether failed to assess or

acknowledge her positive Romberg’s sign, altered sensation on her left side, and left side

numbness. It is not surprising, then, that he did not appreciate the neurological

significance of her resulting neurological impairments. In short, even if Dr. Bellino had

been qualified and had properly assessed Brende’s limitations, Defendant would not have

been justified in relying on that assessment.

       Defendant similarly emphasizes that its final denial letter explained that Brende’s

physical conditions would not prevent her from performing work function and that,

regardless of whether she was psychiatrically impaired, she was not physically impaired.

Def.’s Supp. Br. p. 2. While it is true that Defendant’s final denial letter asserted that

there was no neurological diagnosis warranting Brende’s limitations, it did not engage in

a “but for” analysis. AR 478. Rather, it adopted Dr. Kaplan’s findings that she could

perform sedentary work. In so doing, Defendant recognized exertional limitations that

excluded light, medium, and heavy work. However, it offered no explanation as to the

nature and source of these limitations. Given that Dr. Levy – Defendant’s own reviewing

psychiatrist – explicitly stated that Brende did not suffer from a psychiatric illness, it

would have been impossible for Defendant to deny that her physical impairments alone




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were responsible for her limitations – again, limitations that even Dr. Kaplan recognized.

To the contrary, Dr. Levy criticized Dr. Bellino for suggesting that a “stressful year”

justified a mental health diagnosis. AR 965. For these reasons, Defendant’s final denial

letter failed to engage in a “but for” analysis.

        Defendant also contends that because Brende’s physicians did not diagnose a

physical condition responsible for her impairments that a physical disability is not

supported. Def.’s Supp. Br. p. 3. Of course, it is true that Brende’s treating physicians

could not identify a precise condition name for her signs and symptoms. Nevertheless,

both Dr. Allen and Dr. Levy provided specific physical limitations that precluded work as

an attorney. And, as noted above, even Dr. Kaplan recognized that she was physically

incapable of functioning at greater than a sedentary exertional level.

        It is also true that Dr. Allen did not affirmatively conclude that her condition was

not a mental or nervous disorder. However, neither the policy nor any other legal

authority require Brende to provide evidence to that effect. Rather, Defendant must

demonstrate that the limitation should apply. See Okuno at 609 (The defendant “bears the

burden to show that the exclusion on which it based denial of benefits, the Mental and

Nervous Disorder Limitation, applies in this case.”); see also Owens v. Rollins, Inc., 2010

WL 3843765 (E.D. Tenn. 2010) (placing burden on insurer to prove mental illness

limitation does not apply); Deal v. Prudential Ins. Co., 263 F. Supp. 2d 1138, 1143 (N.D.

Ill. 2003) (same).

        Additionally, Dr. Levy did in fact conclude that Brende was not psychiatrically

ill. Despite Defendant’s characterizations to the contrary, Dr. Levy found that Brende




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exhibited no psychiatric impairment. He noted that “she began and continues her ordeal

in good mental health.” AR 969.


C. The procedural irregularities identified in Okuno are also present here.

         Defendant emphasizes that it did not commit the same type of errors present in

Okuno. Def.’s Supp. Br. p .5.2 It argues that, unlike in Okuno, its reviewing physicians

had relevant experience in specialties related to Brende’s claim. Interestingly, Defendant

conveniently omits Dr. Bellino’s name from its list of reviewing physicians. Def.’s Supp.

Br. p. 2. This is significant for two reasons. First, Dr. Bellino is Board Certified in Family

Medicine rather than in Neurology or Psychiatry. Second, Dr. Bellino is the only medical

professional suggesting a mental or nervous basis for Brende’s limitations. Defendant

relied almost solely on his review in its initial denial. From that review, Defendant

alleged that Brende’s condition “has a psychogenic contribution and [her] symptoms

were related to a stressful year.” Def.’s Supp. Br. p. 3.

         Moreover, Defendant’s use of a reviewing psychiatrist in Dr. Levy is not evidence

that its decision does not exhibit the irregularities. After all, Dr. Levy’s opinion squarely

at odds with the application of the limitation. Dr. Levy went so far as to opine that his

review “simply points toward the likelihood of an eventual diagnosis in the

physical/neurological realm.” AR 970.

         Defendant contends that it “has been consistent in its treatment of Ms. Brende’s

claim.” Def.’s Supp. Br. p. 5. Defendant contrasts this with the shifting reasons for denial

found in Okuno. To the contrary, in Defendant’s final denial letter, it concluded that the


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 While the irregularities discussed in Okuno suggest conflict of interest and abuse of discretion, they are
not central to the “but for” test. They need not be present to show that Reliance acted inconsistently with
Okuno in applying that test.


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evidence did not support a finding of disability based on psychiatric impairment.

Defendant then suggested that Brende was never entitled to any benefits: “As Ms. Brende

is not physically impaired or psychiatrically impaired, and as she received LTD benefits

under the Mental or Nervous Disorder provision, it appears RSL has overpaid Ms.

Brende LTD benefits.” AR 480.

       Defendant’s award of benefits letter undercuts its efforts to appear consistent.

Indeed, that letter expressly stated “At present, the medical information within your claim

file does not suggest that your disability could fall within [the Mental or Nervous

Disorder Limitation] in the future.” AR 352. Additionally, Defendant has been consistent

only in the sense that it has asserted the limitation as one of several reasons for denial.

       Defendant contends that because it “consulted with physicians who examined Ms.

Brende” that it is distinguishable from Okuno. Def.’s Supp. Br. p. 4. However, Defendant

provides no citation in support of this assertion. This is because the record does not

reflect consultation between Defendant’s reviewing physicians and Brende’s treating

physicians. Defendant’s reviewing physicians’ reports make no mention of any direct

communication with her treating physicians. Similarly, the record does not reflect that

Defendant’s claims specialists had such direct communication.

       Defendant also notes that it provided Brende a copy of Dr. Kaplan’s report and

afforded her an opportunity to comment. Def.’s Supp. Br. p. 4. While this is accurate, it is

not central to Okuno. This courtesy does not relieve Defendant of its other duties.

       Defendant argues that Dr. Levy’s opinion supports the application of the

limitation. However, Dr. Levy explicitly concluded that “I cannot support a convoluted

notion like: she had a psychiatric condition in 2012 none of her doctors thought was




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there, and that now she is concealing [the] same to present as in good psychiatric health.”

AR 966.

       Dr. Levy also found “no abnormalities in her perceptual processes, no disorders in

her thought processes, no reports of any but what seem well within the normal human

range in reaction to this difficult, chronic, unexplained interruption of her life.” AR 968.

       Notably, Dr. Levy made no psychiatric diagnoses on Axis I (psychological

diagnostic categories) and Axis II (personality disorders and mental retardation). AR 968.

As noted above, psychiatrist Dr. Jone made the same finding. Although Defendant

maintains that a diagnosis is not necessary to apply the limitation, the absence of

diagnoses is significant.

       Defendant argues that the Okuno Court did not automatically award benefits as a

remedy. Here, however, an award of benefits is the appropriate remedy. Both Dr. Allen

and Dr. Levy concluded that Brende could not perform her own occupation. Dr. Levy

further concluded that she was not psychiatrically impaired. Even Dr. Kaplan limited

Brende to sedentary work based on physical limitations. Defendant’s final denial letter

nevertheless relied on the policy’s limitation and summarily dismissed multiple

physicians’ physical limitations. These errors warrant an award of benefits.

       There are several indictors that Defendant’s decision was motivated by its

financial interests. Significantly, “if a benefit plan gives discretion to an administrator or

fiduciary who is operating under a conflict of interest, such as when the administrator

both determines eligibility and pays out benefits, that conflict must be weighed as a factor

in determining whether there is an abuse of discretion.” Okuno v. Reliance Standard Life

Ins. Co., 836 F.3d 600, 607 (6th Cir. 2016) citing to Firestone Tire & Rubber Co. v.




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Bruch, 489 U.S. 101, 115 (1989) (internal quotations omitted). One such indicator was

Defendant’s false assertion to Dr. Bellino that it had already adjudicated Brende’s claim

within the limitation. AR 1006. Defendant then relied on Dr. Bellino’s opinion that a

mental or nervous disorder was “plausible” in terminating Brende’s benefits. Dr. Levy

later remarked that Dr. Bellino’s opinion was searching for a psychiatric diagnosis not

present in the records. This is exacerbated by the fact that Defendant failed to

acknowledge or comment on psychiatrist Dr. Jones opinion that Brende did not need

psychiatric care. Finally, Defendant’s initial approval and later termination of benefits –

despite no change in physical conditions and limitations and no new psychiatric

indication – suggests that it acted out of its financial interest.


D. Decisions from courts applying Okuno support a finding of abuse of discretion.

        Several courts have applied the Sixth Circuit’s holdings in Okuno. These courts’

decisions have addressed a range of subjects relevant to ERISA disability cases involving

mental health impairments. These cases support Brende’s terminal argument that

Defendant acted arbitrarily and capriciously in terminating benefits.

        In Jarillo v. Reliance Standard Life Ins. Co., No. 15CV2677-MMA (BLM), 2017

WL 1400006 (S.D. Cal. Apr. 19, 2017), the court made five findings that are instructive

here. First, citing Okuno, the court concluded that Reliance bore the burden of

demonstrating that the mental or nervous disorder limitation applied. Id. at * 10. Second,

it found “it troubling that Reliance based its final denial of Plaintiff's LTD benefits on the

mental disorder limitation in the absence of a formal psychological diagnosis.” Id. at *

11. Third, it held that “the mental disorder limitation does not apply because Plaintiff did

not receive a formal diagnosis of a mental disorder.” Id. at * 14.



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       Fourth, the Jarillo court held that the limitation does not apply to mental health

impairments resulting from physical disorders. “pursuant to the doctrine of contra

proferentem, the Court is required to adopt the reasonable interpretation Plaintiff

advances—that the phrase mental or nervous disorders does not include mental

conditions arising from physical impairments.” Id. * 12. Admittedly, this holding was a

direct consequence of the court’s application of a de novo standard of review.

Nevertheless, insofar as the record here reflects that Defendant’s conflict of interest

warrants de novo review, Jarillo is persuasive authority that Defendant erred in applying

the limitation. After all, Dr. Levy unambiguously concluded that psychotherapy was

indicated only because of the frustration caused by her puzzling neurological condition.

AR 970-971.

       Fifth, the court ordered Reliance to “reinstate Plaintiff's monthly disability

benefits retroactive to its denial of benefits, along with prejudgment interest. Plaintiff

may also be entitled to an award of reasonable attorneys' fees and costs” Id. at * 14.

       Moreover, in Chamness v. Liberty Life Assurance Co. of Boston, No. 1:13-CV-

301, 2017 WL 631601 at *7 (W.D. Mich. Feb. 16, 2017), the court reflected on Okuno’s

effect on cases involving a mental health component. Although it did not discuss the “but

for” test, it did scrutinize a claim administrator’s reliance on a file review. The court

emphasized that “[f]ile reviews are particularly ‘questionable as a basis' for an

administrator's determination to deny benefits where the claim, as here, involves a mental

illness component. [. . .] Accurately assessing the mental health of an individual,

therefore, generally requires interviewing the patient and spending time with the patient,’

such that a purely record review will often be inadequate where a disability claim




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includes a mental component.” The court’s analysis in Chamness is significant in light of

Defendant’s almost complete reliance on Dr. Bellino’s file review in rendering its initial

determination to terminate Brende’s benefits.

       This error is magnified by the two facts. First, Defendant misled Dr. Bellino by

stating that it had already adjudicated Brende’s claim within the limitation. Second, Dr.

Bellino was not a psychiatrist. Indeed, a file review of a case involving a mental health

component is problematic even if it is a psychiatrist conducting the review: “File reviews

by psychiatrists are viewed as particularly suspect since psychiatrists usually treat

subjective, instead of objective, symptoms.” Id. citing to Brainard v. Liberty Live

Assurance Co. of Boston, 173 F.Supp.3d 482, 488 (E.D. Ky. 2016).

       The Sixth Circuit’s decision in Okuno, as well as cases recently citing thereto,

support a finding in Brende’s favor. Defendant failed to properly apply the “but for” test

and committed both procedural and substantive errors indicative of a conflict of interest.

In so doing, Defendant abused its discretion in terminating benefits.


                               Respectfully submitted,


                               BURNETT & DRISKILL, Attorneys
                                 By: /s/ Kyle H. Sciolaro
                                     Kyle H. Scilaro #24991
                                     /s/ Roger M. Driskill
                                     Roger M. Driskill #70782
                                     19 North Water Street
                                     Liberty, Missouri 64068
                                     816.781.4836
                                     816.792.3634 - facsimile
                                     rmdriskill@ss-disability.com
                                     ksciolaro@ss-disability.com
                                     ATTORNEYS FOR BRENDE




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